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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       CRIMINAL NO. 23-cr-239 (CKK)
                                             :
ILYA LICHTENSTEIN, et al.,                   :
                                             :
                      Defendants.            :

           GOVERNMENT’S SECOND MOTION FOR EXTENSION OF TIME

       The United States of America, by and though the United States Attorney for the District of

Columbia, respectfully moves for a further extension of time to consolidated response to the

Court’s February 10, 2025 Order and to the motions to intervene in the restitution proceeding filed

by third-party petitioners from Friday, February 21, 2025 until 9:00 a.m. on Monday, February 24,

2025. The government has continued to communicate with third-party petitioners regarding

restitution throughout this week. In order to facilitate the government’s review and consultation

with supervisors, the government respectfully asks for an extension until the morning of the next

business day, February 24, 2025, to submit its consolidated response.
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                               Respectfully submitted,
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